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                                     UNITED STATES DISTRICT COURT                              JUN 2 ~ 2016
                                     EASTERN DISTRICT OF MISSOURI
                                           EASTERN DIVISION
                                                                                          u. S. DISTRICT COURT
                                                                                        EASTERN DISTRICT OF MO
                                                                                                 ST.LOUIS
      UNITED STATES OF AMERICA,                       )
                                                      )
                            . Plaintiff,              )
                                                      )
                 v.                                   )   No.
                                                      )    ~~---~-~------~-------------


                                                      ~
      Alden Dickerman,
                                                               4:16CR258 CEJINAB
                             Defendant.               )


                                                   INDICTMENT

                                                     COUNT I

            The Grand Jury charges that:

            At all times pertinent to the charges in this indictment:

            1.        Federal law defined the term:

                      (a)    "minor" to mean any person under the age of eighteen years (18 U.S.C. §

                             2256(a»;

                      (b)    "sexually explicit conduct" to mean actual or simulated

                             (i)      sexual   intercotU'se,    including   genital-genital,     oral-genital,

                                     anal-genital, or oral-anal, whether between persons of the same or

                                     opposite sex,

                             (ii)    bestiality,

                             (iii)   masturbation,

                             (iv)    sadistic or masochistic abuse, or

                             (v)     lascivious exhibition of the genitals or pubic area of any person (18

                                     U.S.C. §2256(2)(A»; and
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                 (c)    "computerll to mean an electronic, magnetic, optical, electrochemical or

                        other high speed data processing device performing logical, arithmetic or

                        storage functions, including any data storage facility or commmllcations

                        facility directly related to or operating in conjunction with such device.

                        (18 U.S.C.§2256(6));

                 (d)    "child pornography" to mean any visual depiction, including. any

                        photograph, film, video, picture, or computer or computer-generated image

                        or picture, whether made or produced by     electronic~   mechanical, or other

                        means, of sexually explicit conduct, where-­

                        (A)    the production of such visual depiction involves the use of a minor

                               engaging in sexually explicit conduct; or

                        (C)    such visual depiction has been created, adapted, or modified to

                               appear that an identifiable minor is engaging in sexually explicit

                               conduct.

        2.       The "Internet" was, and is, a computer communications network using interstate

and foreign lines to transmit data streams, including data streams used to store, transfer and receive

graphic files.

        3.       Between on or about April 1, 2015, and August 18,2015, in the Eastern District of

Missouri, and elsewhere,

                                     ALDEN DICKERMAN,

the defendant herein, did knowingly possess material that contains an unage and video of child

pornography that was produced using materials that traveled in interstate and foreign commerce,

to wit, Hitachi Hard Drive that were produced outside of Missouri and therefore has traveled in


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    interstate and foreign commerce, and said hard drive contained child p01110graphy, including but

    not limited to the following:

                   1)      "1-2.wmv" - a graphic video file of a male attempting to penetrate the

                           genitals of a prepubescent minor female;

                   2)      "BabyJ-Helping.mpg" - a graphic· video file of a male attempting to

                           penetrate the genitals of a prepubescent minor female;

                   3)      "Laura Pussy Fuck.mpg"       a graphic video file of a male attempting to

                          penetrate the genitals of a prepubescent minor female;

                   4)     "ZOE_0033.jpg" - a graphic image file of a male attempting to penetrate

                          the genitals of a prepubescent minor (possibly toddler aged) female;

                   5)     "OO_DSC05529JP_5089376_12645151.jpg"              a graphic image file of a

                          prepubescent minor female in a lascivious display ofher genitals.


    In violation of Title 18, United States Code, Section 2252A(a)(5)(B).

                                                        A TRUE BILL.




                                                        FOREPERSON
    RICHARD G. CALLAHAJ~
    United States Attorney


    COLLEEN C. LANG, #56872MO
    Assistant United States Attorney




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